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              EXHIBIT 1
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OpenAI Board Will Reject Musk’s ‘Embarrassing’
Takeover Bid, CEO Says
   theinformation.com/articles/openai-ceo-says-board-will-reject-musks-97-billion-offer

Natasha Mascarenhas, Stephanie Palazzolo, Amir Efrati


Shortly after Elon Musk made a surprise $97 billion bid for OpenAI’s assets on Monday, its
CEO Sam Altman told staff in a message that its board of directors intends to make clear it
has no interest in Musk’s “supposed ‘bid’” and that the offer wasn’t in the interest of OpenAI’s
mission to develop advanced artificial intelligence for all of humanity, according to a person
who saw the message.

The letter indicates that OpenAI’s 10-person board is backing Altman in his fight against
Musk’s monthslong effort to prevent the for-profit arm of OpenAI, which develops ChatGPT
and other products, from getting out from under the control of OpenAI’s nonprofit by
converting to a public benefit corporation. Musk is arguing that the nonprofit will be
shortchanged by the conversion.

Altman rejected the offer on X earlier Monday, but it wasn’t clear if he was doing so with
backing of the board. Nearly all of the directors joined after Altman was briefly fired, then
rehired, by the nonprofit’s directors in late 2023.

Altman told staff about the board’s imminent rejection of Musk’s bid before he or the board
saw an official offer letter from Musk, according to the message, and he referred to the effort
as “just embarrassing to watch.”

Musk has sued OpenAI for allegedly defrauding him into making substantial donations to the
nonprofit after cofounding it in 2015 with Altman and others. Altman and OpenAI have denied
his charges. A U.S. district judge said in a hearing last week that she was leaning in favor of
OpenAI in its initial defense against Musk’s effort to halt the planned conversion.

Altman launched OpenAI’s for-profit arm in 2019, with the nonprofit overseeing it. The for-
profit arm later developed ChatGPT in 2022, and Musk started an OpenAI rival, xAI, in 2023.

In making his bid, Musk and a consortium of investors essentially placed a value on the
nonprofit assets that’s higher than their theoretical current value.

Under the current structure, both the nonprofit and Microsoft, OpenAI’s largest outside
shareholder, are in line to receive billions of dollars in profits if the company generates them.
After the conversion, the nonprofit arm would end up with a stake of at least 25% in the
corporation, The Information has reported, and Microsoft would also end up with a big stake.




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OpenAI’s for-profit arm was valued at $150 billion in a financing last fall, which means the
value of the nonprofit’s proposed stake following the conversion would be far less than what
Musk is offering—even if the nonprofit got a 50% stake.

Musk’s team estimates that the nonprofit’s assets—control over the for-profit and rights to
some of its future profits—is essentially equivalent to a 51% stake in the for-profit, meaning
Musk is valuing the for-profit arm at about $190 billion. The for-profit arm is now in the midst
of raising equity funding from SoftBank at a pre-investment valuation of $260 billion, but the
deal hasn’t closed.

Last month, Musk’s lawyer sent a letter to the attorneys general in Delaware, where OpenAI
is incorporated, and California, where it is based, arguing that OpenAI should auction off the
nonprofit’s stake in the business to ensure the nonprofit is fairly compensated for the for-
profit conversion. Monday’s bid could be another effort to get the attention of those state
officials, who have so far not taken steps to stop the conversion.

If Musk succeeds in raising the potential market value of the nonprofit’s assets, it could dilute
the value of stakes held by OpenAI’s investors in the for-profit arm, including Microsoft.

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